
*687The judgment of the general court was as follows :
“ It seems to the court here that the judgment of the said circuit superiour court is erroneous in this, that it does not acquit the said prisoner of the charges contained in the second, third, fifth and sixth counts of the indictment, as to which the verdict says nothing; and also in this, that the said circuit superiour court refused to quash the first and fourth counts of the said indictment, charging an offence (to wit, the offence of forgery) as to which the said prisoner had not undergone any examination by an examining court as the law directs: Therefore it is considered by the court that the judgment aforesaid be reversed and annulled; and this court proceeding to enter such judgment as the said circuit superiour court ought to have rendered, it is further considered that the said William 11. Page be acquitted of the charges contained in the said second, third, fifth and sixth counts of the indictment, and go thereof without day; that the said first and fourth counts be quashed ; and that the said William 11. Page be discharged out of custody.”
